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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
                Plaintiff,               )
                                         )
        v.                               )       No. S1-4:04 CR 629     RWS
                                         )                              DDN
ANTOINE GORDON, et al.,                  )
                                         )
                Defendants.              )

                           REPORT AND RECOMMENDATION
                       OF UNITED STATES MAGISTRATE JUDGE

        This action is before the Court upon the pretrial motions of
defendant Antoine Gordon to suppress evidence and statements (Docs. 291,
351).        These motions were referred to the undersigned United States
Magistrate Judge pursuant to 28 U.S.C. § 636 (b).                  An evidentiary
hearing was held on March 29, 2005.


              Defendant Gordon's Waiver of Some Suppression Issues
        At the evidentiary hearing, with the advice of counsel, defendant
Antoine Gordon, orally and in writing, waived his right to go forward
on any issues raised by his motions to suppress other than to contest
the issuance of the wire tap orders and to seek the suppression of
evidence derived from the wire taps. Therefore, defendant agreed to the
denial of his motions as they involved evidence other than the evidence
derived from the government's wire taps.


                                   Wire Tap Issues
        In his motion to suppress the evidence against him that was
acquired through the use of wire taps, defendant Gordon argues that the
court orders which authorized these interceptions were not supported by
applications that included a “full and complete statement as to whether
or not other investigatory steps ha[d] been taken, and why they ha[d]
failed, or why such techniques reasonably appear[ed] to be unlikely to
succeed if tried or [were] too dangerous to be tried,” as required by
18 U.S.C. § 2518 (1)(c).          Defendant also argues that the interceptions
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were not made in conformity                   with the court orders which required
minimization of communications not subject to the interception order.
       An evidentiary hearing was held on March 29, 2005.                        At this
hearing, government evidentiary document binders A and B, containing
exhibits A1-A18 and B1-B23, were admitted into evidence. 1                       From the
evidence      adduced       at   the   hearing    and   the    exhibits   submitted,   the
undersigned makes the following findings of fact and conclusions of law:


                                               FACTS
       1.      Since 1990, the federal Drug Enforcement Administration St.
Louis Field Division, the St. Louis Metropolitan Police Department, and
the St. Louis County Police Department have investigated heroin and
cocaine trafficking by a criminal organization led by Adrian Minnis.
In 2004 the government initiated proceedings for obtaining judicial
authority to gather evidence by electronic surveillance of telephone
communications (wire tap).
       2.      Anticipating the March 19, 2004, filing of an application for
judicial authorization for the electronic monitoring, by letter dated
March 18, 2004, the lead prosecutor in the investigation, Assistant
United States Attorney Kenneth Tihen, instructed the monitoring agents
with particularity how to implement the minimization requirements of the
law and the anticipated order authorizing the wire tap.                      See Gov. Ex.
A4.    Also, Tihen met with the agents and personally advised them about
minimization.         Case Agent James McHugh read Tihen’s letter, his own
affidavit, and the application regarding the minimization requirement.
McHugh also made sure each of the monitoring agents read the application
for the wire tap, the order, his affidavit, and the minimization letter
of Mr. Tihen.         Before any agent began to monitor conversations, the
agent was required to follow the minimization procedures and to sign the
minimization letter.             Monitors who were added to the investigation later
were       required    to    meet      with    AUSA    Tihen   about   the   minimization
requirement.          During their monitoring of the intercepted telephone




       1
           The defense stipulated as to the accuracy of these exhibits.

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conversations,         the agents followed the minimization procedures and
requirements.
      3.        On March 19, 2004, prosecutor Tihen filed an application for
the interception of wire communications to and from a cellular telephone
being used by Adrian Minnis, bearing              telephone number 314-229-5949,
referred to as target telephone #3.              The application was assigned to
District Judge Jean C. Hamilton.         The application stated, in part, that
normal investigative procedures had been tried and failed, reasonably
appeared unlikely to succeed if tried, or were too dangerous to employ.
See Gov. Ex. A1 at 4.
     4.      In his sworn affidavit, dated March 19, 2004, submitted in
support    of    the   application,   Special    Agent    McHugh     stated   that   the
interception of wire communications was “the only investigative technique
that ha[d] a reasonable likelihood of success in assisting to secure the
evidence needed to prove beyond a reasonable doubt, that Adrian Minnis,
the target subjects, and others not yet identified are acting as part of
the Adrian Minnis Organization and are engaged in the distribution and
sale of heroin, cocaine and marijuana, and the laundering of the monetary
proceeds.”      See Gov. Ex. A2 at 35.
     5.      Agent      McHugh's   affidavit     described    how      the    following
investigative techniques were used in investigating the Adrian Minnis
Organization and had limited success, failed to expose the full scope of
the organization, and could not fully identify additional sources of
supply, customers, and sections of the organization functioning in the
areas of St. Louis, Missouri; Los Angeles, California; and Chicago,
Illinois:


             a.    Grand Jury 2 and Administrative Subpoenas
          Subpoenaing persons believed to be involved in the conspiracy and
their associates to appear before a federal Grand Jury would have been
unsuccessful      because    the   individuals    would    most     likely    have   been
uncooperative and invoked their Fifth Amendment privilege not to testify.
Seeking immunity for these individuals might have foreclosed prosecution


      2
      Federal Grand Jury subpoenas for evidence were not issued before
the government was authorized to engage in the wire tap monitoring.

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of the most culpable members of the conspiracy and would not have ensured
that such immunized witnesses would provide truthful testimony.
      Additionally, Grand Jury subpoenas would alert other participants
in the conspiracy to the investigation, causing them to become more
cautious in their activities, to flee to avoid further investigation or
prosecution, to threaten the lives of informants or witnesses, to destroy
or   conceal       physical       evidence,      or        to   otherwise      compromise     the
investigation.
      Numerous administrative subpoenas have been used.                             They proved
useful in identifying subscribers of specific telephones or in obtaining
toll records of specific telephones.                  This information did not and would
not likely identify the actual users of the telephones or reveal the
criminal conversations.             See id. at 39-40.


            b.      Confidential Sources
      Confidential sources were developed and used in the investigation.
They were successful in making controlled purchases of narcotics on
behalf of the investigative team.                The evidence gathered from the drug
purchases fell short of reaching the desired goals of the investigation,
to uncover the nature and extent of the conspiracy.                           The confidential
sources were not in a position to know the complete structure and methods
of the Adrian Minnis Organization, to identify all sources of supply, or
to know the true nature and full extent of the conspiracy.                           Because the
organization consisted largely of family members and close, trusted
associates, it was unlikely that a confidential source would ever be
fully trusted.
      Additionally, two confidential sources were in jail at the time the
application was filed and were no longer in a position to provide current
information      or    actively       cooperate       in    the    investigation.        Another
confidential       source     had     refused    to    continue       cooperating      with   the
investigation.         See id. at 40-41.


            c.      Undercover Agents
      An undercover         agent     was   successful          in making some controlled
purchases     of      narcotics      from   individuals           within    the   organization.


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However, because the organization consisted largely of family members and
close, trusted associates, the undercover agent was not able to fully
infiltrate    the    organization.       After   an    undercover   agent     made    one
controlled purchase of heroin from a member of the organization, that
member told a confidential source that he was uncomfortable selling
heroin to the undercover agent. It was unlikely that an undercover agent
would ever be fully trusted.
         Furthermore, the violent nature of the organization posed a threat
to the safety of undercover agents.          Several of the target subjects had
extensive violent felony criminal records including weapons violations,
assaults, manslaughter and murder.
     Undercover agents were unable to fully identify the nature, extent
and methods of operation of the heroin and cocaine distribution of the
target    subjects    and    others   unknown;   the     identities    and    roles    of
accomplices, aiders, and abettors; the distribution and transfer of the
contraband and money involved in these illicit activities; the existence
and location of records pertaining to these activities; the location and
source    of resources      used to finance their illicit activities; the
location and disposition of the illicit currency derived from the sale
of heroin and cocaine; and the location of items used in furtherance of
those activities.       See id. at 41.
     Even though the wiretapping did not make the confidential                  sources
and undercover agents more safe, these investigative techniques continued
to be used in conjunction with the wiretapping of target telephone #3.


             d.     Interviews of the Target Subjects or Associates
     Interviews       of    target    subjects   would    not   produce      sufficient
information about the identities of all the persons involved in the
conspiracy, the sources of supply for the heroin and cocaine, those
financing the organization, the location of records and drugs, and other
pertinent information regarding the crimes under investigation.                       Any
response to the interview would likely contain a significant number of
untruths, diverting the investigation with false leads or otherwise
frustrating the investigation.          This belief is based on past attempts to
interview Adrian Minnis. He failed to cooperate with law enforcement and


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would not provide truthful information or the evidence necessary to
dismantle the organization.             Such interviews would also have the effect
of    alerting     members       of    the   conspiracy,   thereby      compromising     the
investigation and resulting in the possible destruction or concealment
of documents, contraband and other evidence and the possibility of harm
to confidential sources whose identities may become known.                       See id. at
42.


             e.    Search Warrants and Consensual Searches
        Search    warrants      and    consensual     searches   can   provide     valuable
information and evidence for individual criminal violations, but normally
do not provide evidence sufficient to determine the full scope of the
criminal    activity      and    the    various     methods   being    used   by   the   co-
conspirators.       Previous searches of Adrian Minnis revealed currency
believed to be used in purchasing drugs, and weapons, but did not render
enough evidence to seek prosecution and did not assist in disclosing the
full scope of the organization or the identity of the conspirators.
Searches at locations relative to the investigation may have resulted in
isolated    seizures of heroin, cocaine,               marijuana,      and possibly      some
records related to part of the organization’s transactions.                        However,
even if the subjects did not destroy the records before successful entry
to execute the warrant, seized records of drug transactions are often in
code and difficult to interpret, and would not disclose the scope of the
criminal conspiracy.            Additionally, searches may alert members of the
conspiracy about the investigation.                 See id. at 42-43.


             f.    Physical Surveillance
        Numerous physical surveillances were conducted of Adrian Minnis and
other    members     of    the     organization       since   November     2003.         This
investigative technique provided some valuable information in identifying
certain activities and associates of target subjects.                      However, such
information was limited because the target subjects often became evasive
and unusually cautious in their movements, thereby risking discovery of
the surveillance officers.




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     On     November     21,     2003,   the    investigativ e      team   established
surveillance on the residence of organization member Dennis Spellman.
Spellman was followed and observed stopping at one location to switch
from driving one rented vehicle to another rented vehicle.                 While being
followed, he drove in an erratic manner at varying speeds.                    Spellman
could be observed looking out the rear window of the car in an attempt
to identify surveillance units.          Surveillance was terminated in fear of
compromising the investigation.            The surveillance was successful in
demonstrating      that members of the organization           used several rental
vehicles.
     On November 6, 2004, the investigative                 team again established
surveillance at the residence of Spellman and observed Adrian Minnis
depart from this location driving a rented car.               As the investigative
team followed the vehicle it began erratically switching lanes and
varying     speeds.      Eventually,     the    vehicle   made    an    evasive     turn,
immediately pulled into a parking lot, and stopped.                  Surveillance was
terminated for fear of compromising the investigation.
     Physical surveillance had not sufficiently disclosed the                 criminal
activity, the structure of the organization, the roles of the members of
the organization,      or identified additional conspirators, sources of
supply, or controlling parties of the conspiracy. Continued surveillance
was not expected to add to the information already available.                 See Gov.
Ex. A2 at 43.


             g.    Pen Registers and Telephone Toll Records
     Pen     registers     and    toll   records     were    used      throughout     the
investigation and were successful in disclosing the relationships among
the members       and associates     of the organization         and in    pinpointing
critical contacts between them.          Analysis of this information would not
alone show that these contacts are for a criminal purpose.                        A pen
register cannot identify the source or sources of the drugs or monetary
instruments nor can it establish proof of conspiracy.
     Toll record information does not record the identity of the parties
to the conversations, cannot identify the nature or the substance of
conversations, or differentiate between legitimate calls and calls for


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criminal purposes.         The pen register and toll record information was
helpful,   but failed to provide sufficient information to prosecute
persons involved in this investigation.               See id. at 47.


             h.    Mobile Tracking Devices
     Mobile tracking records showed that the Adrian Minnis Organization
used several vehicles, including rented vehicles, on a regular basis.
Therefore, it was impossible to pick one specific vehicle in which to
install a mobile tracking device.            Even if such a device could have been
installed, it would not have provided information about the structure of
the organization, the identities of all the members, their specific
roles, and other details regarding the methods of operation for the
organization.      See id.


             I.    Police Records
     Police records were useful but revealed only past information
concerning police contacts with subjects and revealed little of their
present activities.        See id. at 48.
     6.      Adrian    Minnis      and   other      target    subjects     used    cellular
telephones, including pre-paid cellular telephones, to conduct criminal
drug activity.        The phones were subscribed in other names and were
frequently    "dumped"      or    exchanged    for    new    devices,      to   thwart    law
enforcement's ability to intercept their communications.
     7.      The    target       subjects    had    become    aware   of    many   of     law
enforcement’s investigative techniques, specifically surveillance, pen
registers, telephone records, search warrants, and the introduction of
confidential sources and undercover agents.                  See Gov. Ex. A2 at 37.
     8.      By    order   dated     March    19,    2004,    District     Judge   Jean    C.
Hamilton, in Cause No. 4:04MC00101, authorized the installation of the
electronic device to intercept wire communications to and from target
telephone #3.      The order included a minimization requirement. 3                See Gov.


      3
      Minimization was understood by Agent McHugh as the process whereby
wire tap monitors do not listen to certain privileged conversations,
including those conversations held with a member of the clergy, spouse,
or attorney, and conversations not pertinent to the criminal
                                                          (continued...)

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Ex. A3. The agents began monitoring intercepted wire communications over
target telephone #3 on March 19, 2004.
     9.      On April 20, 2004, the government applied for and the court
issued an order extending the operation of the wiretapping device. Court
ordered surveillance of this cellular phone ended on May 11, 2004.
     10.     After receiving authorization for the first wiretapping of
Adrian    Minnis,    no     controlled       purchases      of    narcotics   were    made     by
undercover agents.          The government continued its attempts to develop
information through confidential sources but was unsuccessful.
     11.     On     April    12,   2004,        monitoring        agents    intercepted      two
conversations between Adrian Minnis and an attorney.                       On April 20, 2004,
District    Judge    Hamilton      was       advised   of     these   interceptions       by    a
Notification of Attorney Interception document, Government Exhibit A13.
The government disclosed the conversation to Judge Hamilton and advised
her it believed the conversation between Minnis and the attorney may have
involved    the   commission       of    a    crime    and,      therefore,   the    monitored
conversations were not subject to minimization as privileged or non-
pertinent communications. After receiving this record of the intercepted
conversations, Judge Hamilton did not issue an order prohibiting any
further interception of conversations between Adrian Minnis and the
subject attorney.           No other such conversation with an attorney was
intercepted.
     12.     On May 4, 2004, prosecutor Tihen filed an application to
intercept wire communications to and from two different cellular phones
being used by Adrian Minnis, 314-229-8231, described as target telephone
#4, and 314-581-1370, described as target telephone # 5.                        Agent McHugh
filed a supporting affidavit.                See Gov. Ex. B1 at 2.
     13.     In his supporting affidavit, filed May 4, 2004, McHugh stated
that many facts had been learned through the interception of previous
wire communications, but           much was still unknown and "need[ed] to be
clarified in an attempt to expose the complete scope of the Adrian Minnis
Organization.”      In particular, the investigative team had been unable to
determine distribution patterns, safe house locations, and the complete


     3
     (...continued)
investigation.

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identities of many of the distributors and facilitators in St. Louis,
Missouri.     See Gov. Ex. B2 at 41.
     14.     McHugh re-stated that the individuals involved in the drug
trafficking and money laundering being investigated used a variety of
methods     to   thwart   law   enforcement's        ability   to    intercept      their
communication s, including consistently changing cellular phones, and
using phones issued in other names.             Minnis had ceased using target
telephone #3.       Agent McHugh also re-stated the failure of all other
investigative techniques to reveal the full scope of the organization.
     15.      By order dated May 4, 2004, Judge Hamilton authorized the
installation of the electronic devices to intercept wire communications
to and from target telephones #4 and #5 being used by Adrian Minnis.                  The
order included a minimization requirement.             See Gov. Ex. B3.
     16.     On June 2, 2004, the government applied for and the court
issued an order extending the operation of the wiretapping device on both
cellular phones.       See Gov. Ex. B9.        On July 2, 2004, the government
applied for and the court issued another order extending the operation
of the wiretapping device on only target telephone #4. See Gov. Ex. B17.


                                    DISCUSSION
     A federal judge may issue an order authorizing or approving the
interception of wire or oral communications, upon the proper application
of the United States.        18 U.S.C. § 2516(1).         The judge may issue the
order, if the judge determines, along with other factors, that normal
investigative procedures have been tried and have failed or reasonably
appear to be unlikely to succeed if tried or to be too dangerous.                     18
U.S.C. § 2518(3)(a)-(d); United States v. Milton, 153 F.3d 891, 895 (8th
Cir. 1998).      Defendant argues that the basis for the court's findings on
this factor are insufficient.         The undersigned disagrees.
     The     affidavit    submitted    to    Judge    Hamilton      stated   that    the
government had used confidential sources, subpoenas, an undercover agent,
physical surveillance, pen registers, telephone toll records, mobile
tracking devices, and police records.          The affidavit clearly established
that the normal investigative procedures did not and would not reasonably
disclose     the    entire   breadth    of     the    criminal      enterprise      under


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investigation. There was no error in issuing the electronic surveillance
orders under these circumstances.             United States v. Barnes, 47 F.3d 963,
965 (8th Cir. 1995); United States v. Daly, 535 F.2d 434, 438 (8th Cir.
1976).
      Defendant    Gordon     argues      that      the   monitoring    agents      did    not
sufficiently minimize their interception of privileged conversations is
without merit. The relevant statute provides, "Every order and extension
thereof shall contain a provision that the authorization to intercept .
. . shall be conducted in such a way as to minimize the interception of
communications not otherwise subject to interception under this chapter
. . . ."   18 U.S.C. § 2518(5).           The effort to minimize must be examined
to   determine    whether     the   monitoring       agent   or    agents    acted    in    an
objectively reasonable manner in light of the factual circumstances.
Scott v. United States , 436 U.S. 128, 136-37, 141-43 (1978).
      Clearly,    in   this    case    the    procedures     put   into     place    by    the
government were sufficient to minimize the monitoring of privileged or
non-pertinent communications.             A review of the record, including the
notice provided to Judge Hamilton, establishes a substantial basis for
believing that the monitored communications between Adrian Minnis and the
attorney   possibly     involved the commission of a crime.                    Thus, the
conversation     was   properly     not    minimized,      but    was   reported     to    the
supervising judge.
      For these reasons,
      IT IS HEREBY RECOMMENDED that the motions of defendant Antoine
Gordon to suppress evidence and statements (Docs. 291, 351) be denied.
      The parties are advised they have ten (10) days to file written
objections to this Report and Recommendation.                      The failure to file
objections may result in a waiver of the right to appeal issues of fact.




                                          DAVID D. NOCE
                                          UNITED STATES MAGISTRATE JUDGE


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Signed on July 1, 2005.




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